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                EXHIBIT A
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ---------------------------------------------------------------X
         SMITHLINE FAMILY TRUST II, as                                  :
                  Assignee of Puritan Partners LLC,
                                                                        :   Index No.:
                                    Plaintiff,
                                                                        :
                  - against -
                                                                        :   SUMMONS
         FOXO TECHNOLOGIES, INC., a Delaware
         Corporation, and JON SABES,                                    :

                                    Defendants.                         :
         ---------------------------------------------------------------X

         TO THE ABOVE NAMED DEFENDANTS:



                 You are hereby summoned to answer the attached Verified Complaint in this action and

         to serve a copy of your answer on the Plaintiff within twenty (20) days after the service of this

         summons, exclusive of the day of service; or within thirty (30) days after the service is complete

         if this summons is not personally delivered to you within the State of New York; and in case of

         your failure to appear or answer, judgment will be taken against you by default for the relief

         demanded in the attached Verified Complaint.

                 The basis of venue in this action is that, pursuant to a Securities Purchase Agreement

         dated January 25, 2021, the parties hereto submitted themselves to the laws of the State of New

         York with exclusive general jurisdiction in the courts of the State of New York, Borough of

         Manhattan.




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         Dated: New York, New York
                November 18, 2022

                                                 SICHENZIA ROSS FERENCE LLP

                                                 By:    /s/ Sameer Rastogi____________
                                                        Sameer Rastogi, Esq.
                                                        Owen A. Kloter, Esq.
                                                 1185 Avenue of the Americas, 31st Floor
                                                 New York, New York 10036
                                                 (212) 930-9700

                                                 Attorneys for Plaintiff Smithline Family Trust II, as
                                                 Assignee of Puritan Partners, LLC


         TO:

               FOXO Technologies, Inc.
               c/o Corporation Service Company
               Registered Agent
               251 Little Falls Drive
               Wilmington, Delaware 19808

               Jon R. Sabes
               663 Bushaway Road
               Wayzata, Minnesota 55391-1913

               Jon R. Sabes
               1904 Arthur Lane
               Austin, Texas 78704-3234




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         COUNTY OF NEW YORK
         ---------------------------------------------------------------X
         SMITHLINE FAMILY TRUST II, as                                  :
                  Assignee of Puritan Partners LLC,
                                                                        :   Index No.:
                                    Plaintiff,
                                                                        :
                  - against -
                                                                        :   VERIFIED COMPLAINT
         FOXO TECHNOLOGIES, INC., a Delaware
         Corporation, and JON SABES,                                    :

                                    Defendants.                         :
         ---------------------------------------------------------------X

                 Plaintiff Smithline Family Trust II, as Assignee of Puritan Partners LLC (“Smithline” or

         “Plaintiff”), by and through its attorneys Sichenzia Ross Ference LLP, as and for its Verified

         Complaint against FOXO Technologies, Inc. (“FOXO”) and Jon Sabes, the recently terminated

         CEO and former Chairman of the Board of FOXO (“Sabes,” collectively with FOXO,

         “Defendants”), alleges as follows:

                                              PRELIMINARY STATEMENT

                 1.       This action concerns the intentional, willful, and malicious manipulation and

         misrepresentation and omission of critical material information, deliberately concealed

         wrongdoing that should have been disclosed to investors, inside deals and favors that represented

         conflicts of interest to conflicted parties. Desperate, for various self-serving reasons, for a

         transaction to be consummated at all costs, Defendants and their cohorts deliberately disregarded

         the terms of investors’ interests in contravention of their investment documents. The end result

         of these acts and omissions caused significant harm to the investors.

                 2.       All of these acts and omissions occurred in the context of a debenture and warrant

         investment and subsequent merger of FOXO with a special purpose acquisition company




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         (“SPAC”) called Delwinds Insurance Acquisition Corp. (“Delwinds”), which were orchestrated

         by FOXO’s then Chairman of the Board and CEO Jon Sabes, an individual whose prior company

         was already under investigation for financial misdeeds committed during his tenure as Chairman

         of the Board and CEO of that company, which investigation was undisclosed to FOXO investors,

         including Smithline.

                 3.     When the proverbial music stopped at the end of Sabes’s performance, FOXO’s

         investors had lost millions of dollars, its stock price has and continues to crater, its debenture

         holders were never repaid nor were their warrants repurchased as required by the transaction

         documents, its investment bankers and financing providers terminated their relationships with the

         Company, and Sabes and his cohorts received millions of dollars in a purported management

         share plan, bloated “consulting fee” payments and stock, and consideration for financings they

         did not perform, all at the expense of FOXO’s investors.

                                                      PARTIES

                 4.     Plaintiff Smithline is, and at all times relevant herein was, a Grantor Trust

         organized and existing under the laws of the State of New York.

                 5.     Upon information and belief, defendant FOXO Technologies, Inc. is a corporation

         organized under the laws of the State of Delaware.

                 6.     Defendant Sabes is an individual, who at times relevant herein was CEO and

         Chairman of the Board of FOXO, until being terminated by the Company as CEO and Chairman

         of the Board effective as of November 14, 2022, after which time he remains a Director of

         FOXO.




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                                         JURISDICTION AND VENUE

                7.      Pursuant to a Securities Purchase Agreement (“SPA”), dated January 25, 2021,

         and an accompanying 12.5% Original Issue Discount Convertible Debenture, due February 23,

         2022, and Warrant to purchase, initially, up to 312,500 shares of FOXO common stock until

         February 23, 2024 (collectively, including the other documents entered into in connection

         therewith, the “Financing Documents”), both Smithline and FOXO submitted themselves to the

         laws of the State of New York with exclusive general jurisdiction in the courts of the State of

         New York, Borough of Manhattan.

                                           FACTUAL BACKGROUND

         Puritan Partners LLC and FOXO Enter into the Financing Documents

                8.      Joseph Gunnar & Co. LLC, a broker-dealer in New York, New York (“JGUN”),

         acting as FOXO’s investment banker, initially approached Smithline and other investors in

         January 2021, about investing in FOXO. JGUN arranged all of the financing under the

         Financing Documents, as well as other financings from time to time for FOXO during the period

         in question. On or about January 25, 2021, Puritan Partners LLC (“Puritan”) entered into the

         SPA with FOXO. Under the terms of the SPA, Puritan purchased debentures and warrants from

         FOXO for $1,000,000.

                9.      Pursuant to the SPA, and in consideration for its investment, Puritan received a

         12.5% Original Issue Discount Secured Convertible Debenture due February 23, 2022 (the

         “Debenture”) in the principal amount of $1,125,000, and a warrant to purchase initially up to

         312,500 shares of FOXO’s common stock until February 23, 2024 (the “Warrant”).

                10.     The Warrant provided for an exercise price of the lesser of (i) the original issue

         price under FOXO’s Certificate of Incorporation, or (ii) in the event that a qualified offering was




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         consummated prior to the exercise, the qualified offering price, subject to all adjustments

         thereunder.

                 11.    Upon information and belief, the original issue price, as later disclosed in public

         filings, was $3.61 per share.

                 12.    Section 3.1(j) of the SPA provided that FOXO, its subsidiaries, officers, and

         directors, were not and had not been the subject of any securities law or breach of fiduciary duty

         claims, were not being investigated by the United States Securities and Exchange Commission

         (“SEC”), nor has there been or is any investigation involving the Company or any such party.

                 13.    Section 5(b) of the Debenture (as well as Section 3(b) of the Warrant) provided

         that if, at any time while the Debenture is outstanding, FOXO or any subsidiary sells or grants

         any option to purchase any of FOXO’s common stock at a price per share that is lower than the

         then conversion price (or, in the case of the Warrant, the exercise price), the Company must

         notify the existing holders (including Smithline), reduce the conversion price of the existing

         Debenture (or, in the case of the Warrant, the exercise price) to the dilutive price and the

         Debenture holders and Warrant holders would be entitled to receive additional shares at the

         dilutive price upon conversion of their Debentures or exercise of their Warrants.

                 14.    In addition, the SPA provided for the delivery of a Lock-Up Agreement, to

         prevent the original Debenture investors, such as Smithline, from selling their FOXO shares

         received upon conversion of their Debentures or exercise of their Warrants commencing on the

         closing date of any qualified offering and continuing for one hundred eighty (180) days

         thereafter.

                 15.    Pursuant to a model of FOXO’s projected financial results given to investors,

         including Smithline, in conjunction with their investment in FOXO, FOXO’s five-year




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         projections provided for a growth in its revenues from $873,069 in 2021 to an impressive

         $4,766,825,407 for the year ending December 31, 2025. The figures provided in the model were

         significantly more aggressive than other financial information that was later provided to

         Smithline and other investors, including financial information provided to investors in the

         subsequent SPAC transaction.

                 16.    On or about October 1, 2021, Puritan assigned the Debenture and Warrant to

         Smithline Family Trust II.

                 17.    As will become apparent from the additional facts that follow, FOXO breached

         the Financing Documents in multiple ways, made numerous misrepresentations and omissions of

         material fact, and undermined its investors for the benefit of its executives, insiders, purported

         “consultants” as well as the sponsor of the SPAC, including Andrew Poole, Chairman and CEO

         of Delwinds, with which FOXO ultimately merged. Poole’s dealings with Sabes enabled Sabes

         to massively dilute FOXO’s shareholders while saving the sponsor group’s $6,325,000

         investment in Delwinds, which it would have lost had it not been able to merge Delwinds with

         FOXO.

         The Memorandum and Amendment

                 18.    Approximately a year after the sale of the Debentures, on January 17, 2022, Sabes

         sent Richard Smithline, Smithline’s authorized representative, a memorandum entitled “FOXO

         Updates and Amendment” to FOXO Bridge Financing Investor (the “Memo”).

                 19.    In the Memo, Sabes explained that he was seeking to amend the SPA to aid in

         FOXO’s efforts to complete a business combination with a SPAC. Sabes claimed that the SPAC

         would increase FOXO’s value, providing the original investors, such as Smithline, with: (1) an

         approximate 2.5 times return on their debenture investment, (2) warrants which will be




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         approximately $6.00 per share in the money, and (3) $18.00 per share in total consideration

         providing investors with an approximate 5 times return in approximately 18 months. He further

         stated in the Memo “[w]hat is exciting about our proposed transaction is that the SPAC sponsor

         is strategic, bringing value beyond just capital, and while FOXO will be valued at a significant

         increase from the Bridge Financing, our valuation is reasonable given the exciting future growth

         opportunity we have.”

                20.     Although the Memo presented the opportunity for FOXO to merge into a SPAC

         as a benefit for Smithline and other investors, Sabes had a pernicious ulterior motive by which he

         intended to extract the majority of the economics of the transaction for his own and his cohorts’

         benefit, while leaving FOXO’s investors, such as Smithline, holding the proverbial bag.

                21.     Specifically, the Memo failed to disclose that the SPAC transaction included a

         $100,000,000 management share plan (an unheard of 50% of the consideration given to FOXO

         shareholders in the transaction) which would benefit Sabes and his cohorts at the expense of

         FOXO’s investors. The Memo also failed to mention that the shares underlying a second

         debenture offering issued by FOXO to fund the transaction would not be subject to a lock up

         agreement, as the initial Debenture shares were to be, to the direct and distinct disadvantage of

         the original Debenture investors, including Smithline. Moreover, the Memo failed to disclose

         that the SPAC (through its sponsor group) would not be required to deliver in excess of $10

         million of capital to the transaction despite the SPAC’s having $201 million in trust at that time.

         Further, the Memo omitted any reference to the ongoing SEC investigation and litigation

         regarding Sabes’ prior company during his tenure as Chairman and CEO of GWG Holdings,

         events that would be publicly disclosed later in a June 24, 2022 article in the Wall Street Journal

         and the proxy statement and prospectus for the SPAC merger.




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                22.     Shortly thereafter, FOXO’s investment banker, JGUN sent Smithline an

         Amendment Agreement (the “Amendment”) seeking the consent of 50.01% of the original

         Debenture investors for a variety of amendments to the Financing Documents.

                23.     The proposed Amendment included, with respect to the Debentures:

                        a. Consummating the merger with the SPAC by modifying the term of a

                            qualified offering.

                        b. Allowing FOXO to incur additional indebtedness (i.e., the second debenture

                            offering).

                        c. Amending the definitions of “prepayment amount”, “final extension amount”,

                            “SPAC transaction amount” and “SPAC transaction date”.

                        d. Extending the maturity date of the original Debentures.

                        e. Modifying what constituted an Event of Default under the Debentures.

                24.     The Amendment also sought the following with respect to the Warrants:

                        a. Modifying the exercise price.

                        b. Modifying the definition of a Fundamental Transaction so as not to require the

                            purchase of the Warrants in conjunction with the merger of FOXO with and

                            into the SPAC.

                25.     If the amendments were not approved by 50.01% of the Debenture investors, (i)

         the Debenture holders would not have been required to convert their Debentures into shares of

         the surviving corporation of the merger, (ii) the incurrence of the indebtedness to finance the

         transaction would have constituted an Event of Default under the Debentures causing the

         Debentures to be immediately due and payable at the Mandatory Default Amount (i.e., the sum

         of (a) 130% of the outstanding principal amount of this Debenture, plus (b) 130% of accrued and




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         unpaid interest hereon and (c) 130% of all other amounts, costs, expenses and liquidated

         damages due in respect of the Debenture), (iii) the interest rate on the Debenture would have

         increased to 18% , (iv) 18% late fees would begin to accrue under the Debentures, (v) FOXO

         would have been required to buy back the Warrants from the Debenture and Warrant investors at

         the Black Scholes Value (as defined in the Warrant) thereof, a value to Smithline in excess of

         several million dollars (i.e., $2,406,731, without giving effect to the dilutive issuance, or

         $3,168,750, with giving effect to the dilutive issuance’s impact on the exercise price of the

         warrants, but not giving effect to the increase in the number of warrant shares in the anti-dilution

         provisions of the Warrant) and (vi) the shares underlying the Debentures and the Warrants would

         not have been subject to a lock-up after the merger with the SPAC as such transaction would not

         have constituted as a Qualified Offering.

                26.     JGUN, which was in the position of both negotiating the terms of the amendment

         with FOXO on behalf of its investors and soliciting the consent to the amendment on behalf of

         FOXO, was not initially successful in getting the required 50.01% consent to approve the

         Amendment.

                27.     As a result, Sabes wrested control of the transaction from JGUN and covertly and

         directly solicited the Debenture investors, including Smithline, on different terms. Sabes implied

         to Smithline such Amendment had been approved by JGUN on behalf of its clients but did not

         disclose certain material facts to Smithline or other investors. Based on these misrepresentations

         by Sabes, Smithline and more than 50.01% of the other Debenture investors approved the

         Amendment. Smithline signed the Amendment as between itself and FOXO without knowing

         that material facts were not disclosed in conjunction with Sabes soliciting the Amendment.




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                28.     JGUN’s President criticized Sabes’s rogue efforts by stating, in writing, that the

         consent solicitation was done “covertly and directly” by Sabes as JGUN would not endorse the

         Amendment without the release of the lock-up agreement on the initial Debenture investors.

         According to JGUN, Sabes had reneged on his agreement to remove the lock-up for the initial

         Debenture investors so he sent his own amendment version to investors without JGUN’s

         endorsement. JGUN further stated of Sabes: “his attempt to now self-direct a second bridge

         [financing] offering ex-JGUN is a reflection of the unfortunate friction caused by me calling him

         out on his bad faith dealing.” Denying that it knew about the management share plan, JGUN

         concluded “his behavior pattern is bs [sic].”

                29.     Under direct questioning by Smithline as to the terms of the SPAC transaction,

         Sabes focused on the 5 times return investors were supposed to receive on their investment.

         Sabes refused to disclose the terms of the merger, including a $100,000,000 share plan, which

         amounted to a share grant to himself and his management and consultant cohorts of 50% of the

         total consideration to be received by FOXO shareholders, on a $200,000,000 total transaction

         consideration. It was later learned through public filings, that Sabes was personally granted over

         35% of such plan shares (i.e., 3,507,000 shares at approximately $10.14/share) valued at

         $35,560,980 at the time of grant.

                30.     Sabes also failed to disclose that the subsequent investors would not have their

         shares subject to a lock-up agreement. He also failed to advise Smithline that the SPAC (which

         initially had $201,000,000 in trust) was not required to deliver such cash to the merged company.

         Rather, and unbeknownst to Smithline, only a paltry $10,000,000 had been committed to be

         delivered by the SPAC sponsor group.




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                31.     Once again, Sabes also failed to disclose the ongoing SEC investigation and

         litigation relating to his tenure at GWG Holdings.

                32.     The SPAC was announced on February 24, 2022. Smithline did not become

         aware of any of the foregoing information until the SPAC transaction was publicly announced.

         These were intentional, willful, and material omissions and misrepresentations by Sabes, the then

         Chairman of the Board and CEO of FOXO, but for which Smithline, and likely other investors,

         would not have approved and signed the Amendment.

                33.     After the announcement, it became clear that the reason Sabes was able to

         negotiate for himself (and his cohorts) such an attractive deal with Delwinds was because

         Delwinds was not committing to delivering financing, other than its sponsors’ relatively minimal

         commitment to invest an additional $10,000,000 in the transaction at its closing if there was not

         $10,000,000 in the trust at such time. Notably, Delwinds was approaching its expiration date at

         which time its sponsor group would have had to redeem the trust and give the money back to

         shareholders and lose their investment in Delwinds, putting the sponsor group’s $6,325,000

         investment in Delwinds at risk of complete loss.

         FOXO’s Post-SPAC Announcement Misconduct

                34.     In July 2022, Smithline learned, from Delwinds Form 8-K, that FOXO would be

         permitted to pay $1,425,000 million in cash as well as issue 1,500,000 shares of FOXO Class A

         common stock to an existing stockholder, Bespoke Growth Partners, Inc. (“Bespoke”), as

         consideration for certain alleged services, e.g., “advisory services relating to the implementation

         and completion of an event that will result in the Company being publicly listed and subject to

         Exchange Act” despite the subject transaction being very close to completion at the time.




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                35.     Based on the receipt of such shares, Bespoke became, according to the proxy

         statement and prospectus, a Related Party to FOXO and resulted in certain disclosures, which

         were legally required to be made in the proxy statement and prospectus. Although Smithline

         questioned FOXO, FOXO’s counsel, Andrew Poole and SPAC counsel about such disclosure,

         these disclosures were not made by either FOXO or Delwinds in their respective public filings.

         Upon information and belief, making such disclosures would have risked (i) further delay in the

         SPAC transaction that at that time had been cleared by the SEC, (ii) potentially increased

         scrutiny by the SEC of the deal, and (iii) the need to obtain a new consent from Debenture

         investors, including Smithline, who with knowledge of these previously undisclosed facts would

         almost certainly not have given such consent as previously provided.

                36.     Bespoke’s principal, Mark Peiken (“Peiken”), advised Smithline that he had acted

         as special counsel to FOXO’s attorneys, Mitchell Silberberg & Knupp, LLP (“MSK”), and had

         fee sharing arrangements with the law firm. This potential conflict of interest, along with

         litigation relating to one of Bespoke’s principals, should have been disclosed to investors in the

         proxy statement and prospectus. Just prior to the closing of the SPAC merger, Sabes arranged to

         pay Bespoke’s astronomical fee of $8,500,000, comprised of $1,425,000 in cash and 1,500,000

         shares of FOXO common stock. Based on the terms of the Debenture and the Warrant, the

         issuance of shares to Bespoke was a dilutive issuance and should have decreased the conversion

         price of the Debentures and the exercise price of the Warrants and increased the number of

         shares to be received by holders upon exercise of the Warrants. However, had FOXO abided by

         the terms and protections in the Financing Documents and recognized such dilutive issuance, it

         would have severely diluted the shares of Sabes and his cohorts, including Andrew Poole and

         Peiken, and could have potentially derailed the merger with Delwinds.




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                37.      Neither FOXO nor its attorneys sent the required notice of this dilutive issuance

         to Smithline (or, upon information and belief, other Debenture or Warrant holders). FOXO also

         refused to provide details of other potentially dilutive issuances when requested multiple times

         by Smithline.

                38.      On behalf of FOXO, MSK opined that the issuance of shares to Bespoke was not

         dilutive, while at the same time, failed to disclose Peiken’s relationship with MSK or other

         material items required to be disclosed in the proxy statement and prospectus. Delwinds also

         failed to make such required disclosures in the proxy statement or prospectus relating to the

         SPAC merger.

                39.      The Bespoke giveaway, upon information and belief, was memorialized in a

         “consulting agreement” that was not publicly disclosed in the proxy statement or prospectus

         relating to the SPAC merger. Therefore, it is unclear if the shares given to Bespoke were, or

         were not, encumbered by a lock-up agreement enabling Bespoke to exit the share grant while

         other investors, like Smithline, would still be prohibited from selling their shares.

                40.      Sections 5(b) of the Debenture and Section 3(b) of the Warrant, each contain anti-

         dilution provisions prohibiting such dilutive issuances, and require that, if such issuances are

         made by FOXO, the conversion price of the Debenture and the exercise price on the Warrants

         must be reduced to the price of the dilutive issuances and the number of warrant shares to be

         received by holders on exercise of the Warrants would be increased.

                41.      The share giveaway to Bespoke constituted a dilutive issuance under the

         Debenture and the Warrant. Although Smithline repeatedly raised this issue to Sabes and other

         members of FOXO management, FOXO’s attorneys, the SPAC sponsor, Andrew Poole, and to

         SPAC counsel, FOXO improperly refused to acknowledge it, or to take the action required of it




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         under those agreements. Namely, FOXO was obligated to reduce the conversion share price on

         the Debenture and the exercise price of the Warrant, and increase the number of warrant shares

         to be received by holders on exercise of the Warrants, which would have required FOXO to issue

         them additional shares at that price upon conversion of the Debentures or exercise of the

         Warrants.

                42.     Acknowledging that the Bespoke fee was, in part, a dilutive issuance would have

         significantly diluted the share holdings of Sabes and his cohorts, including Bespoke and Andrew

         Poole and the other members of the sponsor group of Delwinds, which would have made the

         consummation of the SPAC transaction for all intents and purposes impossible.

                43.     Around the same time, based on a June 24, 2022 Wall Street Journal article,

         Smithline further learned for the first time that FOXO had made misrepresentations about

         litigation and SEC investigations involving its officers and directors. The Journal article stated,

         Sabes’ prior company GWG Holdings was subject to an SEC investigation and lawsuits from

         investors based on breaches of fiduciary duty and fraud for activities taking place during Sabes’

         tenure as Chairman and CEO of GWG Holdings. It was stated in the article that “many investors

         were unaware that as its core life-settlement business failed, GWG Holdings would transfer

         hundreds of millions of dollars into startup ventures created by the company’s former leaders”,

         including Sabes. The SEC investigation had been ongoing since October 2020, in other words,

         before Puritan entered into the SPA with FOXO that represented that no such investigation

         involving any of its officers or directors is or was ongoing, a representation that was maintained

         by Sabes and FOXO. Finally, Delwinds’ proxy statement and prospectus also disclosed the

         litigation relating to GWG Holdings for activities which took place during Sabes’ tenure as

         Chairman and CEO. JGUN and Peiken advised Smithline that there was much consideration




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         given to replacing Sabes as CEO of FOXO at such time due to his conduct, especially in light of

         FOXO’s operating in the heavily regulated insurance industry and having insurance companies

         as investors, but it was ultimately decided not to replace him at such time.

                44.     By September 2022, Smithline learned from Peiken that the SPAC investors

         largely intended to redeem their money from the SPAC’s trust and not invest in the transaction.

                45.     Making matters worse, although they had been touted as the financial advisors to

         FOXO and Delwinds, two major investment banks, RBC Capital Markets and Deutsche Bank, on

         June 8, 2022 and June 16, 2022, respectively, walked away from the SPAC deal before it closed,

         despite having completed their work, foregoing $12,600,000 in fees. The proxy statement and

         prospectus disclosed that neither RBC Capital Markets nor Deutsche Bank wanted their names

         and reputations associated with the disclosures (or lack thereof) or the underlying business

         analysis relating to the transactions used to pitch to investors such as Smithline. It should be

         noted that despite the robust projections being used to solicit investors, FOXO had recorded

         revenues of a paltry $79,000 for the first half of 2022. The $79,000 of revenues during this

         period was a far cry from the $150,000,000 of revenues that FOXO had projected to investors in

         connection with the SPAC transaction that it would generate for 2023. Smithline emailed to

         FOXO, its counsel, Andrew Poole and SPAC counsel, and informed them that it appeared that

         the economic interests of the remaining participants completing the transaction trumped the

         concerns mentioned by RBC Capital Markets and Deutsche Bank regarding FOXO’s disclosures

         (or lack thereof) or the underlying analysis relating to the transaction.

                46.     After RBC Capital Markets and Deutsche Bank backed away from the deal,

         JGUN, the sole remaining investment bank involved, and which was acting on behalf of FOXO,

         then approached Smithline soliciting further investment into FOXO in exchange for removing




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         the lock-up on the original shares underlying the Debentures and Warrants. As the Amendment

         had not been properly obtained, such lock-up should not have applied to Smithline and the other

         investors in the initial Debenture round in any event. That the primary sales incentive of this

         capital raise was to eliminate the lock-up on the prior investment, was an indication that

         FOXO—despite public pronouncements to the contrary by its CEO and Board members—knew

         the value of its shares would imminently plummet and were thus collecting ransom from its early

         investors for something they should have otherwise had already (i.e., the rights to sell their

         shares) before the stock price collapsed.

                47.     Smithline did not participate in this additional financing.

                48.     Around the same time, Smithline’s representatives met with Peiken, FOXO’s

         “consultant” at the Westchester, New York airport, and Peiken admitted that Sabes had been

         untruthful and had been negotiating against the Company’s interest for his own benefit in

         orchestrating the SPAC deal. Peiken stated that he was “terribly sorry for all of this sh*t we had

         to deal with here.” He noted that he was uncomfortable with Sabes’ lack of veracity, stating

         “Jon seems to have a problem with the truth.” Peiken explained that he would not have invested

         $1,500,000 into FOXO had he known about the litigation involving Sabes at the time of the

         investment, and that he understood that Smithline’s representatives had “significant concerns”.

         He also mentioned that SPAC counsel was concerned as to whether the answers to the questions

         Smithline’s representatives had raised would have to be disclosed in the proxy statement and

         prospectus, which had already been declared effective. Making such disclosures could have

         delayed and possibly derailed the transaction.

                49.     In the course of their discussions, Peiken, told Smithline’s representatives that he

         held freely tradable shares that were not subject to a lock-up agreement, and tried to convince




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         Smithline’s representatives that the investment banks had resigned as a courtesy to save fees

         because they owed the SPAC’s principals a favor from another deal. In addition, as

         compensation for the wrongdoing they had suffered, Peiken offered R. Smithline’s son a seat on

         FOXO’s Board of Directors, and offered Smithline’s representatives a consulting agreement

         from FOXO or some of Peiken’s free-trading stock. Smithline’s representatives rejected these

         proposals.

                50.     Meanwhile, shortly before the closing of the merger, on September 13, 2022,

         Delwinds entered into a forward purchase agreement whereby Meteora Capital Partners, LP

         (“Meteora”) would purchase up to 3,000,000 shares of its common stock in the market and sell

         them to FOXO with its returns guaranteed by funds (i.e., $29,135,330) of FOXO held in escrow.

                51.     The result of this agreement allowed the SPAC’s sponsors, Andrew Poole and his

         colleagues, at the significant expense of FOXO and its shareholders, to avoid making further

         investment in FOXO, which they had otherwise been required to make when 99.5% of SPAC

         shareholders redeemed their shares and $10,000,000 was not left in trust in the SPAC. Andrew

         Poole and his colleagues later entered into another self-serving agreement with FOXO to release

         their locked-up shares earlier than originally contemplated. Yet the message given by Andrew

         Poole to the public in a FOXO press release dated September 16, 2022 was different: “[h]aving

         had the opportunity to work closely with the FOXO team these past months, our belief in

         FOXO’s value proposition and market opportunity have only grown.”

                52.     FOXO and Delwinds consummated its merger on September 15, 2022, and shares

         of the merged company began trading under the symbol “FOXO” on the NYSE American on

         September 16, 2022.




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                53.     On November 11, 2022, Meteora and the Company “mutually terminated” the

         forward purchase agreement, upon which Meteora was allowed to retain 500,000 shares of

         common stock and the escrow agreement was terminated, further damaging investors.

                54.     Another of the Company’s financing parties, CF Principal Investments LLC (the

         “Cantor Investor”) , an affiliate of Cantor Fitzgerald & Co., “mutually terminated” its common

         stock purchase agreement with the Company, pursuant to which the Company had the right to

         sell to the Cantor Investor up to $40 million of shares of common stock for a 36-month period,

         for which the Cantor Investor received 190,476 commitment shares of common stock on

         September 16, 2022.

                55.     Ultimately, none of the representations about FOXO’s viability proved true,

         whether as to litigation and regulatory investigations, dilution of shares, growth projections, or

         profits. Upon consummation of the merger, 99.5% of the SPAC investors redeemed their shares

         draining Delwinds of most of its cash and FOXO’s stock traded down from $10.14 per share to

         less than $2.00/share in only eight days.

                56.     As of November 17, 2022, FOXO’s stock price closed at $0.444 per share a 95.6

         % decline.

                57.     Upon closing of the Merger, according to FOXO’s calculations, the outstanding

         amount due under the Debenture was $2,336,937. Pursuant to the ill-gotten Amendment, the

         Debenture was required to be converted into 647,774 shares of FOXO according to the Letter of

         Transmittal of FOXO’s Transfer Agent sent to Smithline (which required Smithline to sign a

         release of FOXO to get its shares). Based on the value of the common shares at closing

         (approximately $10.14/share), the value of the shares to be delivered at closing to Smithline was

         to be approximately $6,568,428. Smithline’s Warrants to purchase 181,685 shares of FOXO at




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         $6.21/share (each, as adjusted for the merger) were thus in the money at closing by a total of

         $714,022. This $7,282,450 of value to be delivered at closing to Smithline quickly evaporated.

                58.     Instead of receiving these substantial profits, Smithline and the original Debenture

         investors were left to face the extreme, devastating consequences of these financial losses while

         the subsequent investors, who were not subject to the lack of disclosure and lock up agreement,

         were able to exit their positions. Sabes was able to receive his outsized payments in the

         transaction (including a share grant pursuant to the management share plan valued at in excess of

         $35,560,980 at the time of grant), Bespoke its $8,500,000 giveaway of cash and shares, and

         Andrew Poole and his colleagues were able to save their $6,325,000 investment in Delwinds

         without investing more money in the merger transaction.

                59.     Effective as of November 14, 2022, a mere two months after the consummation of

         the merger, as the Company continued to unravel. Jon Sabes was terminated as CEO and

         Chairman of the Board (while remaining as a Director) and his brother Steven Sabes was

         terminated as COO. The Company’s Chief Technology Officer was appointed as interim CEO

         while the Company commenced a search process to identify its new CEO.

                60.     Due to the disarray caused by FOXO and Sabes’s activities, the Company was

         unable to timely file its 10-Q for the quarter ending September 30, 2022.

                                  AS AND FOR A FIRST CAUSE OF ACTION
                                      (Breach of Contract-Against FOXO)

                61.     Smithline repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.

                62.     Smithline and FOXO were parties to the Financing Documents.

                63.     The Financing Documents were enforceable written contracts as between

         Smithline and FOXO.



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               64.    Smithline fully-performed under the Financing Documents and provided

         $1,000,000 to FOXO.

               65.    FOXO breached the Financing Documents when it:

                      a. Failed to disclose that FOXO’s then Chairman of the Board and CEO, Sabes,

                         was involved in litigation and an SEC investigation, pursuant to Section 3.1(j)

                         of the SPA and as of the date Smithline agreed to the Amendment.

                      b. Failed to disclose the self-serving management share plan as of the date

                         Smithline agreed to the Amendment.

                      c. Failed to disclose that the second round of debenture shares were not locked

                         up when Smithline agreed to the Amendment.

                      d. Failed to disclose the SPAC was not required to deliver in excess of $10

                         million of cash as of the date Smithline agreed to the Amendment.

                      e. Made an improper dilutive issuance pursuant to Section 5(b) of the Debenture

                         and Section 3(b) of the Warrant.

                      f. Failed to amend the conversion price of the Debentures and the exercise price

                         and number of shares to be received upon exercise of the Warrants based upon

                         the dilutive issuance and to issue the additional shares to which Smithline was

                         thereby entitled pursuant to Section 5(b) of the Debenture and Section 3(b) of

                         the Warrant.

                      g. Failed to repay or redeem the Debenture pursuant to Section 8(b) of the

                         Debenture.

                      h. Failed to purchase the Warrant at the Black Scholes Value pursuant to Section

                         3(e) of the Warrant.




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                66.     Smithline’s $1,000,000 investment has been substantially injured by FOXO’s

         multiple breaches of the Financing Documents. But for the ill-gotten Amendment, (i) there

         would have been an Event of Default under the Debentures ($2,336,937 outstanding as of the

         closing date of the merger) that would have made them due and payable at the Mandatory

         Default Amount (i.e., the sum of (a) 130% of the outstanding principal amount of this Debenture,

         plus (b) 130% of accrued and unpaid interest hereon and (c) 130% of all other amounts, costs,

         expenses and liquidated damages due in respect of the Debenture) or $3,038, 018, plus accrued

         default interest and late fees each at 18% accruing from the date of the merger to the date of

         repayment in accordance with its terms and (ii) the Warrants would have been required to be

         purchased by FOXO at the Black Sholes Value thereof (a value to Smithline of $2,406,731,

         without giving effect to the dilutive issuance, or $3,168,750, with giving effect to the dilutive

         issuance’s impact on the exercise price of the warrants, but not the increase in the number of

         shares in the anti-dilution provisions of the Warrant).

                67.     The value of Smithline’s FOXO’s stock and warrants, which were anticipated to

         deliver substantial profits to Smithline (the stock’s value at the closing of the merger was

         approximately $6,568,428 and the warrants were $714,022 in the money at such date for a total

         aggregate value of $7,282,450), even more so if the dilutive issuance had been properly

         recognized, and which would have been not subject to the lock-up and freely salable at closing

         but for the ill-gotten consent, has been eviscerated with the 95.6 % decline in value of the stock

         since the merger.

                68.     As a result, Smithline has been damaged in an amount to be determined at trial,

         but estimated to be in excess of a minimum of $6,206,768 (i.e., the amount that the Debenture

         and Warrant –without giving effect to the dilutive issuance’s impact to the number of shares to




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         be purchased thereunder – should have been required to be purchased at the consummation of the

         merger), plus accrued interest and late fees under the Debenture, each at 18% until the date of

         repayment.

                                AS AND FOR A SECOND CAUSE OF ACTION
                                (Unjust Enrichment – Against FOXO and Sabes)

                69.      Smithline repeats and re-alleges each and every allegation set forth above as if

         more fully set forth herein.

                70.      Smithline fully-performed all acts that FOXO requested it perform in connection

         with the Financing Documents and the SPAC merger, and invested $1,000,000 in FOXO.

                71.      FOXO and Sabes made numerous misrepresentations and material omissions to

         Smithline and provided inaccurate, misleading information all while FOXO, and Sabes and his

         cohorts, benefitted from Smithline’s performances in connection with the Financing Documents

         and the SPAC merger. FOXO has retained the value of that benefit—Smithline’s financing of

         FOXO’s transaction—without compensating Smithline for its fair value or the consequences of

         its misrepresentations and omissions, without which Smithline would not have entered into the

         financing transaction and subsequent Amendment with FOXO and FOXO would not have been

         able to enter the SPAC merger without repaying or redeeming the Debentures and repurchasing

         its Warrants.

                72.      In light of the benefit FOXO, and Sabes, received, it would be against equity and

         good conscience to permit FOXO, and Sabes, to retain the benefits conferred by Smithline,

         particularly in light of the misleading and materially omitted statements FOXO used to obtain

         and induce receipt of those benefits.

                73.      Smithline has been damaged by FOXO’s unjust retention of the financial benefits

         of Smithline’s investment.



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                74.     Accordingly, FOXO and Sabes have been unjustly enriched, and Smithline has

         been damaged, in an amount to be determined at trial, but estimated to be in excess of a

         minimum of $6,206,768 (i.e., the amount that the Debenture and Warrant – without giving effect

         to the dilutive issuance’s impact to the number of shares to be purchased thereunder – should

         have been required to be purchased at the consummation of the merger), plus accrued interest

         and late fees under the Debenture, each at 18% until the date of repayment.

                                 AS AND FOR A THIRD CAUSE OF ACTION
                                     (Fraud – Against FOXO and Sabes)

                75.     Smithline repeats and re-alleges each and every allegation set forth above as if

         more fully set forth herein.

                76.     FOXO and its representatives, including Sabes, falsely represented to Smithline

         that its officers were not involved in litigation or SEC investigation, materially omitted to advise

         Smithline that the SPAC transaction contained numerous self-dealing provisions including the

         management share plan, materially omitted to advise Smithline that the second round debenture

         investors were not locked up when soliciting Smithline’s consent and agreement to the

         Amendment, materially omitted to advise Smithline that the SPAC (through its sponsor group)

         was not delivering more than $10 million to the merged company and materially omitted to

         recognize the dilutive issuance to Bespoke which would have entitled Smithline to significantly

         more shares.

                77.     Smithline justifiably relied on these misrepresentations and omissions of fact in

         deciding to enter into the Financing Documents and to invest $1,000,000 in FOXO and to enter

         into the Amendment.




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                78.     In fact, FOXO and Sabes always intended to make these misrepresentations and

         material omissions in order to induce Smithline’s investment in FOXO, and its execution of the

         Financing Documents, and Amendment permitting the SPAC transaction.

                79.     FOXO and Sabes had full knowledge of their misrepresentations and material

         omissions of fact, and intended to induce Smithline’s investment and Amendment and

         cooperation thereby.

                80.     Accordingly, as a result of FOXO and Sabes’s fraudulent conduct, Smithline has

         been damaged, in an amount to be determined at trial, but estimated to be in excess of a

         minimum of $6,206,768 (i.e., the amount that the Debenture and Warrant – without giving effect

         to the dilutive issuance’s impact to the number of shares to be purchased thereunder – should

         have been required to be purchased at the consummation of the merger), plus accrued interest

         and late fees under the Debenture, each at 18% until the date of repayment.

                WHEREFORE, Smithline demands judgment as follows:
                        (a)     On the First Cause of Action, in favor of Smithline and against FOXO,

                damages in an amount to be determined at trial, estimated to be in excess of a minimum

                of $6,206,768, plus accrued interest and late fees under the Debentures, each at 18% until

                the date of repayment;

                        (b)     On the Second Cause of Action, in favor of Smithline and against FOXO

                and Sabes, damages in an amount to be determined at trial, estimated to be in excess of a

                minimum of $6,206,768, plus accrued interest and late fees under the Debentures, each at

                18% until the date of repayment;

                        (c)     On the Third Cause of Action, in favor of Smithline and against FOXO

                and Sabes, damages in an amount to be determined at trial, estimated to be in excess of a




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               minimum of $6,206,768, plus accrued interest and late fees under the Debentures, each at

               18% until the date of repayment;

                      (d)     For costs and disbursements in this action, including attorneys’ fees;

                      (e)     For such other and further relief as the Court deems just, equitable and

               proper under the facts and circumstances of this case.


         Dated: New York, New York
                November 18, 2022


                                                        SICHENZIA ROSS FERENCE LLP


                                                  By:          /s/ Sameer Rastogi
                                                               Sameer Rastogi, Esq.
                                                               Owen A. Kloter, Esq.
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                                                        Attorneys for Plaintiff Smithline Family Trust II




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ---------------------------------------------------------------X
         SMITHLINE FAMILY TRUST II, as                                  :
                  Assignee of Puritan Partners LLC,
                                                                        :   Index No.: 654430/2022
                                    Plaintiff,
                                                                        :
                  - against -
                                                                        :   NOTICE OF APPEARANCE
         FOXO TECHNOLOGIES, INC., a Delaware
         Corporation, and JON SABES,                                    :

                                    Defendants.                         :
         ---------------------------------------------------------------X


                 PLEASE TAKE NOTICE that as of November 21, 2022, Owen A. Kloter, Esq. hereby

         appears in the above-captioned matter on behalf of Plaintiff Smithline Family Trust II, and

         demands that all papers in this action be served upon the undersigned at the address stated below.

         Dated: New York, New York
                November 21, 2022

                                                     Respectfully submitted,

                                                     SICHENZIA ROSS FERENCE LLP

                                                By: ________/s/ Owen A. Kloter_______________
                                                           Owen A. Kloter
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                                                     Attorneys for Plaintiff Smithline Family Trust II, as
                                                     Assignee of Puritan Partners, LLC




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                                                                                                                                                                                   UCS-840
                                         REQUEST FOR JUDICIAL INTERVENTION                                                                                                    (rev. 02/01/2022)

                                                             Supreme COURT, COUNTY OF New York

                               Index No:                      654430/2022                         Date Index Issued:                11/21/2022                            For Court Use Only:

 CAPTION              Enter the complete case caption. Do not use et al or et ano. If more space is needed, attach a caption rider sheet.                                     IAS Entry Date

  Smithline Family Trust II, as Assignee of Puritan Partners LLC

                                                                                                                                                                              Judge Assigned
                                                                                                                                             Plaintiff(s)/Petitioner(s)
 -against-

  FOXO Technologies, Inc., Jon Sabes
                                                                                                                                                                              RJI Filed Date



                                                                                                                                        Defendant(s)/Respondent(s)
 NATURE OF ACTION OR PROCEEDING:                                 Check only one box and specify where indicated.
 COMMERCIAL                                                                                 MATRIMONIAL
  ☐    Business Entity (includes corporations, partnerships, LLCs, LLPs, etc.)                     ☐    Contested
  ☒    Contract                                                                                         NOTE: If there are children under the age of 18, complete and attach the
                                                                                                        MATRIMONIAL RJI Addendum (UCS-840M).
  ☐    Insurance (where insurance company is a party, except arbitration)
  ☐    UCC (includes sales and negotiable instruments)                                                  For Uncontested Matrimonial actions, use the Uncontested Divorce RJI (UD-13).

  ☐    Other Commercial (specify):                                                                REAL PROPERTY Specify how many properties the application includes:
 NOTE: For Commercial Division assignment requests pursuant to 22 NYCRR 202.70(d),                 ☐    Condemnation
 complete and attach the COMMERCIAL DIVISION RJI ADDENDUM (UCS-840C).
                                                                                                   ☐    Mortgage Foreclosure (specify):      ☐   Residential              ☐   Commercial
 TORTS                                                                                                  Property Address:
  ☐    Asbestos                                                                                         NOTE: For Mortgage Foreclosure actions involving a one to four-family, owner-
  ☐    Child Victims Act                                                                                occupied residential property or owner-occupied condominium, complete and
                                                                                                        attach the FORECLOSURE RJI ADDENDUM (UCS-840F).
  ☐    Environmental (specify):
  ☐    Medical, Dental or Podiatric Malpractice                                                    ☐    Partition

  ☐    Motor Vehicle                                                                                    NOTE: Complete and attach the PARTITION RJI ADDENDUM (UCS-840P).
  ☐    Products Liability (specify):                                                               ☐    Tax Certiorari (specify):     Section:              Block:               Lot:
  ☐    Other Negligence (specify):                                                                 ☐    Tax Foreclosure
  ☐    Other Professional Malpractice (specify):                                                   ☐    Other Real Property (specify):
  ☐    Other Tort (specify):                                                                      OTHER MATTERS
 SPECIAL PROCEEDINGS                                                                               ☐    Certificate of Incorporation/Dissolution     [see NOTE in COMMERCIAL section]
  ☐    Child-Parent Security Act (specify): ☐ Assisted Reproduction ☐ Surrogacy Agreement          ☐    Emergency Medical Treatment
  ☐    CPLR Article 75 - Arbitration    [see NOTE in COMMERCIAL section]                           ☐    Habeas Corpus
  ☐    CPLR Article 78 - Proceeding against a Body or Officer                                      ☐    Local Court Appeal
  ☐    Election Law                                                                                ☐    Mechanic's Lien
  ☐    Extreme Risk Protection Order                                                               ☐    Name Change/Sex Designation Change
  ☐    MHL Article 9.60 - Kendra's Law                                                             ☐    Pistol Permit Revocation Hearing
  ☐    MHL Article 10 - Sex Offender Confinement (specify):       ☐   Initial    ☐    Review       ☐    Sale or Finance of Religious/Not-for-Profit Property
  ☐    MHL Article 81 (Guardianship)                                                               ☐    Other (specify):
  ☐    Other Mental Hygiene (specify):
  ☐    Other Special Proceeding (specify):

 STATUS OF ACTION OR PROCEEDING                               Answer YES or NO for every question and enter additional information where indicated.
                                                                                      YES NO
      Has a summons and complaint or summons with notice been filed?                       ☒      ☐             If yes, date filed:              11/18/2022

      Has a summons and complaint or summons with notice been served?                      ☐      ☒             If yes, date served:

      Is this action/proceeding being filed post-judgment?                                 ☐      ☒             If yes, judgment date:

 NATURE OF JUDICIAL INTERVENTION                              Check one box only and enter additional information where indicated.
 ☐    Infant's Compromise

 ☐    Extreme Risk Protection Order Application

 ☐    Note of Issue/Certificate of Readiness

 ☐    Notice of Medical, Dental or Podiatric Malpractice         Date Issue Joined:

 ☐    Notice of Motion                                           Relief Requested:                                                                          Return Date:

 ☐    Notice of Petition                                         Relief Requested:                                                                          Return Date:

 ☐    Order to Show Cause                                        Relief Requested:                                                                          Return Date:

 ☐    Other Ex Parte Application                                 Relief Requested:

 ☐    Partition Settlement Conference

 ☐    Poor Person Application

 ☐    Request for Preliminary Conference

 ☐    Residential Mortgage Foreclosure Settlement Conference

 ☐    Writ of Habeas Corpus

 ☒    Other (specify):     Transfer to Commercial Division




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FILED: NEW YORK COUNTY CLERK 11/21/2022 04:25 PM                                                                                                INDEX NO. 654430/2022
NYSCEF DOC. NO. 4Case 1:22-cv-10858-VEC Document 1-1 Filed 12/23/22 Page 31 of 32
                                                                     RECEIVED  NYSCEF: 11/21/2022

 RELATED CASES               List any related actions. For Matrimonial cases, list any related criminal or Family Court cases. If none, leave blank.
                             If additional space is required, complete and attach the RJI Addendum (UCS-840A).
 Case Title                         Index/Case Number                Court                              Judge (if assigned)                 Relationship to instant case




 PARTIES                     For parties without an attorney, check the "Un-Rep" box and enter the party's address, phone number and email in the space
                             provided. If additional space is required, complete and attach the RJI Addendum (UCS-840A).

  Un-    Parties                                        Attorneys and Unrepresented Litigants                                         Issue Joined            Insurance Carriers
  Rep    List parties in same order as listed in the    For represented parties, provide attorney's name, firm name, address, phone   For each defendant,     For each defendant,
         caption and indicate roles (e.g., plaintiff,   and email. For unrepresented parties, provide party's address, phone and      indicate if issue has   indicate insurance
         defendant, 3rd party plaintiff, etc.)          email.                                                                        been joined.            carrier, if applicable.

        Name: Smithline Family Trust II, as OWEN KLOTER, Sichenzia Ross Ference LLP, 1185 Avenue
  ☐     Assignee of Puritan Partners LLC    of the Americas 31st Floor, New York, NY 10036, (212)                                     ☒ YES ☐ NO
        Role(s): Plaintiff/Petitioner       930-9700, okloter@srf.law

        Name: FOXO Technologies, Inc.                   c/o Corp. Serv. Co. 251 Little Falls Drive, Wilmington , DE
  ☒                                                     19808                                                                         ☐ YES ☒ NO
        Role(s): Defendant/Respondent

        Name: Sabes, Jon                                663 Bushaway Road, Wayzata, MN 55391-1913
  ☒                                                                                                                                   ☐ YES ☒ NO
        Role(s): Defendant/Respondent

        Name:
  ☐                                                                                                                                   ☐ YES ☐ NO
        Role(s):

        Name:
  ☐                                                                                                                                   ☐ YES ☐ NO
        Role(s):

        Name:
  ☐                                                                                                                                   ☐ YES ☐ NO
        Role(s):

        Name:
  ☐                                                                                                                                   ☐ YES ☐ NO
        Role(s):

        Name:
  ☐                                                                                                                                   ☐ YES ☐ NO
        Role(s):

        Name:
  ☐                                                                                                                                   ☐ YES ☐ NO
        Role(s):

        Name:
  ☐                                                                                                                                   ☐ YES ☐ NO
        Role(s):


   I AFFIRM UNDER THE PENALTY OF PERJURY THAT, UPON INFORMATION AND BELIEF, THERE ARE NO OTHER RELATED ACTIONS OR
     PROCEEDINGS, EXCEPT AS NOTED ABOVE, NOR HAS A REQUEST FOR JUDICIAL INTERVENTION BEEN PREVIOUSLY FILED IN THIS
                                                ACTION OR PROCEEDING.

   Dated:      11/21/2022                                                                                          OWEN ANDREW KLOTER
                                                                                                                               Signature

                                        4838223                                                                    OWEN ANDREW KLOTER
                         Attorney Registration Number                                                                         Print Name
                                                                       This form was generated by NYSCEF




                                                                                   2 of 2
FILED: NEW YORK COUNTY CLERK 11/21/2022 04:25 PM                                                                                     INDEX NO. 654430/2022
NYSCEF DOC. NO. 5Case 1:22-cv-10858-VEC Document 1-1 Filed 12/23/22 Page 32 of 32
                                                                     RECEIVED  NYSCEF: 11/21/2022
                                                                                                                                                 UCS-840C
  SUPREME COURT OF THE STATE OF NEW YORK                                                                                                          3/2011
  COUNTY OF New York
                                                                                       x       Index No: 654430/2022

   Smithline Family Trust II, as Assignee of Puritan Partners LLC                              RJI No. (if any):

                                                          Plaintiff(s)/Petitioner(s)
  -against-
                                                                                               COMMERCIAL DIVISION
   FOXO Technologies, Inc., Jon Sabes
                                                                                               Request for Judicial Intervention Addendum
                                                          Defendant(s)/Respondent(s)
                                                                                       x
  COMPLETE WHERE APPLICABLE [add additional pages if needed]:

  Plaintiff/Petitioner's cause(s) of action [check all that apply]:

   ☒   Breach of contract or fiduciary duty, fraud, misrepresentation, business tort (e.g. unfair competition), or statutory and/or common
       law violation where the breach or violation is alleged to arise out of business dealings (e.g. sales of assets or securities; corporate
       restructuring; partnership, shareholder, joint venture, and other business agreements; trade secrets; restrictive covenants; and
       employment agreements not including claims that principally involve alleged discriminatory practices)


   ☐   Transactions governed by the Uniform Commercial Code (exclusive of those concerning individual cooperative or condominium
       units)

   ☐   Transactions involving commercial real property, including Yellowstone injunctions and excluding actions for the payment of rent
       only

   ☐   Shareholder derivative actions — without consideration of the monetary threshold

   ☐   Commercial class actions — without consideration of the monetary threshold

   ☐   Business transactions involving or arising out of dealings with commercial banks and other financial institutions

   ☐   Internal affairs of business organizations

   ☐   Malpractice by accountants or actuaries, and legal malpractice arising out of representation in commercial matters

   ☐   Environmental insurance coverage

   ☐   Commercial insurance coverage (e.g. directors and officers, errors and omissions, and business interruption coverage)

   ☐   Dissolution of corporations, partnerships, limited liability companies, limited liability partnerships and joint ventures — without
       consideration of the monetary threshold

   ☐   Applications to stay or compel arbitration and affirm or disaffirm arbitration awards and related injunctive relief pursuant to CPLR
       Article 75 involving any of the foregoing enumerated commercial issues — without consideration of the monetary threshold


  Plaintiff/Petitioner’s claim for compensatory damages [exclusive of punitive damages, interest, costs and counsel fees claimed]:
       6206768.00

  Plaintiff/Petitioner’s claim for equitable or declaratory relief [brief description]:




  Defendant/Respondent’s counterclaim(s) [brief description, including claim for monetary relief]:




   I REQUEST THAT THIS CASE BE ASSIGNED TO THE COMMERCIAL DIVISION. I CERTIFY THAT THE CASE MEETS THE
   JURISDICTIONAL REQUIREMENTS OF THE COMMERCIAL DIVISION SET FORTH IN 22 NYCRR § 202.70(a), (b) and (c).


  Dated:       11/21/2022                                                                                        OWEN ANDREW KLOTER
                                                                                                                        SIGNATURE


                                                                                                                 OWEN ANDREW KLOTER
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